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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION
                                      ______

JAELONI TALTON,

                     Plaintiff,                     Case No. 1:21-cv-633

v.                                                  Honorable Ray Kent

GRAND RAPIDS POLICE DEPARTMENT
et al.,

                     Defendants.
____________________________/

                                         JUDGMENT

              In accordance with the order issued this date:

              IT IS ORDERED that Plaintiff’s action is DISMISSED WITHOUT

PREJUDICE for lack of prosecution and failure to comply with the Court’s order.



Dated:    September 29, 2021                        /s/ Ray Kent
                                                    Ray Kent
                                                    United States Magistrate Judge
